           USCA11 Case: 22-13123                       Document: 42               Date Filed: 06/06/2023                   Page: 1 of 1
                        UNITED STATES COURT OF APPEALS FOR THE ELEVENTH CIRCUIT
                                                Bill of Costs

Court of Appeals Docket No. 22-13123


 Keith Taig                                                                vs City of Vero Beach, et al.
A Bill of Costs should only be filed when the Clerk’s Office has advised a party that the party is entitled to costs. FRAP 39 and 11th Cir. R. 39-1
govern costs taxable in this court and the time for filing the Bill of Costs. A motion for leave to file out of time is required for a Bill of Costs not
timely received.

                                                                  INSTRUCTIONS
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Appellant’s Brief

Appendix

Appellee’s Brief                 X                          45                7               315               47.25
Reply Brief




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I hereby swear or affirm that the costs claimed were actually and n           y incurred in this appeal and that I have served this Bill of Costs on
counsel/parties of record.


Signature: (   y         —" '——~                                               Date Signed:  JUne 6, 2023
Attorney Name: Gail C- Bradford                        (J                      Attorney for: City Of VeTO Beach
                        (Type or print your name)                                                      (Type or print name of client)
E-maii:   gbradford@drml-law.com                                               Phone: 407-422-4310

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Costs are hereby taxed in the amount of $                                      against

and are payable directly to


                                                                    David J. Smith, Clerk of Court


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